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                                                            District of Columbia c/o Office of the Attorney General
                               November 5, 2021




                        On November 5, 2021, I served the summons and complaint on Defendant District of Columbia by emailing them to
chad.copeland@dc.gov, stephanie.litos@dc.gov, and tonia.robinson@dc.gov, in accordance with the DC Office of the Attorney General
Office Order 2020-10 (April 1, 2020), https://oag.dc.gov/sites/default/files/2020-04/2020-10-OAG-OFFICE-ORDER-Temp-Service-
Process.pdf. That Order provides that, during the pandemic, the District will accept service when the required documents are emailed to the
3 email addresses names above. Tonia Robinson accepted service via email on November 5, 2021.




     11/10/2021                                            /s/ Judith Jackson



                                                        Judith Jackson, Docketing, EFiling & Research Specialist




                                                       1440 New York Avenue, NW, Washington, D.C. 20005
